      Case 1:16-cv-00875-ESH Document 12-1 Filed 02/06/17 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

                                     )
AMIR HEKMATI,                        )
                                     )
                   Plaintiff,        )
                                     )
      v.                             )       Case No. 1:16-cv-00875 (ESH)
                                     )
THE GOVERNMENT OF THE                )
ISLAMIC REPUBLIC OF IRAN,            )
Its Ministries, Agencies, and        )
Instrumentalities,                   )
                                     )
                   Defendants.       )
                                     )

  PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
         IN SUPPORT OF HIS MOTION FOR DEFAULT JUDGMENT




         **FILED UNDER SEAL
     PENDING COURT’S RULING ON
PLAINTIFF’S MOTION FOR LEAVE TO FILE
      DOCUMENTS UNDER SEAL**
